Case 2:18-mc-00125 Document 1-5 Filed 09/14/18 Page 1 of 4 Page ID #:94




     EXHIBIT 4
012314526
9/13/2018                         7889ÿAustralian
                   Case 2:18-mc-00125
                                  Meet Document
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                                                           IP-Echelon, 809/14/18
                                                                          ÿofÿ9the
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                                                                                        89ÿanti-piracy
                                                                                              Page
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                                                                                                                              98ÿworld
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   ()*+,-.-/0                                                                EXHIBIT
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   12  23ÿAustralian
          567389:;9<ÿcompany
                     =>?@9<AÿBIP-Echelon,
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   TECHNOLOGY




    Meet
   9anti-piracy
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                                3F2ÿworld
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   By Hannah Francis
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   Updated 30 April 2015 — 1:04pm, first published at 1:00pm



   MNOPQRÿTUQVWUOXQRNÿYQZÿ[UÿVWUÿY\]Vÿ^UQO]\YUÿ_POQVUÿW`RVUOÿPRÿVWUÿa\OXNb
   Adrian Leatherland may be the most fearsome pirate hunter in the world.
   c\`deUÿ_probably
   You've   O\[Q[XZÿRnever
                      UeUOÿheard
                           WUQONÿof\^ÿthe
                                      VWUÿf38-year-old
                                            ghZUQOh\XNÿi\ RQ]WÿUniversity
                                                       Monash   jRPeUO]PVZÿcomputer
                                                                                k\Y_`VUOÿscience
                                                                                           ]kPURkUÿand
                                                                                                   QRNÿYQ VW]ÿlgraduate,
                                                                                                        maths   OQN`QVUmÿor\Oÿeither
                                                                                                                              UPVWUOÿ\of^ÿhis
                                                                                                                                          WP]ÿkcompanies
                                                                                                                                                \Y_QRPU]ÿn—
   M`]VOQXPQRh[Q]UNÿoIP-Echelon,
   Australian-based    phqkWUX\Rmÿand
                                    QRNÿthe
                                         VWUÿR&D
                                              rstÿlab
                                                   XQ[ÿthat
                                                       VWQVÿNdevelops
                                                              UeUX\_]ÿPitsV]ÿ_proprietary
                                                                               O\_OPUVQOZÿtechnology,
                                                                                          VUkWR\X\lZmÿoIP88
                                                                                                        pggÿrU ]UQOkWb
                                                                                                            Research.




            ¨©ª«¬¤¥­®ÿ¯­¢®¦¥ÿ¦§®ÿ°¥§¡¤¥§®¦ÿ§®¦ÿ¤ ÿ± ÿ¤¥§¦²¢§¡¥ ÿ®ÿ³¥£­¢®¥´
            IP-Echelon founder Adrian Leatherland and his firm's headquarters in Melbourne.
            ©¤­¡­ÿ°®µ¥¦¨¶·¸§¯§¹ÿ³¥¦§
            Photo: Linked/N/Fairfax Media

   uWQVd]ÿ[UkQ`]UÿPRÿVWUÿ]UeURÿZUQO]ÿ]PRkUÿWUÿOUlP]VUOUNÿVWUYÿaPVWÿMvowmÿx\XXZa\\Nd]ÿ]UkOUVÿaUQ_\RÿPRÿVWUÿylWVÿQlQPR]Vÿ\RXPRUÿ_POQkZÿWQ]ÿR\V
   That's because in the seven years since he registered them with ASIC, Hollywood's secret weapon in the fight against online piracy has not
   ]_\zURÿV\ÿVWUÿYUNPQÿ\RkUmÿQRNÿWQ]ÿYQRQlUNÿV\ÿ{Zÿ`RNUOÿVWUÿOQNQOÿnÿ`RVPXÿR\ab
   spoken to the media once, and has managed to fly under the radar — until now.
   ophqkWUX\Rmÿ^founded
   IP-Echelon,    \`RNUNÿinPRÿ2008
                                |}}gÿby
                                      [ZÿTLeatherland,
                                           UQVWUOXQRNmÿthe
                                                         VWUÿsole
                                                             ]\XUÿshareholder,
                                                                  ]WQOUW\XNUOmÿdirector
                                                                               NPOUkV\Oÿand
                                                                                        QRNÿsecretary,
                                                                                            ]UkOUVQOZmÿPis]ÿwhat
                                                                                                            aWQVÿ_pirates
                                                                                                                   POQVU]ÿXlike
                                                                                                                            PzUÿtoV\ÿcall
                                                                                                                                     kQXXÿaQÿ"copyright
                                                                                                                                             ~k\_ZOPlWVÿtroll"
                                                                                                                                                        VO\XX~ÿnÿQRNÿitPV
                                                                                                                                                               — and
   has      U_`VQVP\Rÿ^for\Oÿbeing
   WQ]ÿaQÿOreputation        [UPRlÿthe
                                   VWUÿbest
                                       [U]VÿPinRÿthe
                                                 VWUÿbusiness.
                                                     [`]PRU]]b
              Reporting Organization: IP-Echelon Pty Ltd
              Total Requests:                                      7,171                      URLs Requested to be Removed Per Week
              Median Requests per Week:                             52
                                                                                               500.000

              URLs Requested to be Removed'                        9,964.5046                  376.090
              % Indexed URLs
                                                                                               250.90?
              Median URLs per Week:                                 57,443
                                                                                               125GCC,

              Most Recent Request:                                 Apr 28, 2016                     0
                                                                                                    2118,13   917113
                                                                                                                       a    1.1,111116111111111Jl 11011
                                                                                                                           9117)14         924.44
                                                                                                                                                          ii
              First Available Request:                             Fob 25, 2013



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https://www.smh.com.au/technology/meet-australian-company-ipechelon-one-of-the-biggest-antipiracy-operations-in-the-world-20150429-1mw93k.html213
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                lop uomains speemea                                                                         top copyrignr owners nepresentea
                                                                                      uRLs                                                                                        URLs

                   torrunLz.eu                                                          323,893                Horne Box Office, Inc.                                             7,388,754

                   Ischunt.to                                                           133,926                Paramount Pictures Corporation                                     2,111,572

                   torrenthound.com                                                     129.858                Home Box Office Inc,                                                 289,554

                   torrenlz.pro                                                         123,458                Columbia Pictures Industries, Inc.                                   110,712

                   Net Specifier.                                                       111,766                Sony Pictures Worldwide Acquisitions Inc.                              29,955


             efghijklmnÿjpqÿrkstkqukvÿplwmquÿxyÿwzllzmnÿ{|}qÿumÿ~kÿrkwmkvÿmnÿmmlkÿmnÿ~kjplÿmÿzuqÿilzknuq
             IP-Echelon has requested almost 10 million URLs to be removed on Google on behalf of its clients.
             fjmumÿmmlkÿrpnqprkniÿ|kmru
             Photo: Google Transparency Report



   ()*+,*-.ÿ)0ÿ,ÿ010.-234)5*ÿ1673-ÿ10ÿ8199)02ÿ(*4--*ÿ)0ÿ:-9;1+40-<2ÿ8=>ÿ?)*ÿ@,2ÿ,ÿ2-310.AÿB(ÿ1673-ÿ4)C@*ÿ)0ÿ*@-ÿ@-,4*ÿ16ÿD199EF11.GAÿ*@-ÿ31H5,0E<2
   Situated in a nondescript office on Collins Street in Melbourne's CBD (it has a second, US office right in the heart of Hollywood), the company's
   54154)-*,4Eÿ216*F,4-ÿH10)*142ÿ5)4,3Eÿ,3*)I)*Eÿ,41+0.ÿ*@-ÿF-;ÿ641Hÿ5@E2)3,9ÿJ9)2*-0)0Cÿ2*,*)102Jÿ)0ÿH14-ÿ*@,0ÿKLÿ31+0*4)-2Aÿ*4,F9)0Cÿ5--4M*1M
   proprietary software monitors piracy activity around the web from physical "listening stations" in more than 25 countries, trawling peer-to-
   5--4ÿ79-M2@,4)0Cÿ0-*F14N2Aÿ,2ÿF-99ÿ,2ÿ213),9ÿH-.),ÿ59,*614H2AÿF-;2)*-2ÿ,0.ÿ109)0-ÿ,.I-4*)2)0Cÿ59,*614H2O
   peer file-sharing networks, as well as social media platforms, websites and online advertising platforms.
   P)*@ÿthis
   With      *@)2ÿinformation,
                   )0614H,*)10Aÿ4rights  )C@*2ÿholders
                                                 @19.-42ÿcan 3,0ÿthen
                                                                   *@-0ÿauthorise
                                                                           ,+*@14)2-ÿthe   *@-ÿsending
                                                                                                 2-0.)0Cÿof16ÿ3copyright
                                                                                                                 15E4)C@*ÿ)infringement
                                                                                                                                064)0C-H-0*ÿwarning   F,40)0Cÿ9letters
                                                                                                                                                                    -**-42ÿto*1ÿ)internet
                                                                                                                                                                                  0*-40-*ÿservice
                                                                                                                                                                                            2-4I)3-ÿ5providers,
                                                                                                                                                                                                       41I).-42A
   F@)3@ÿsometimes
   which      21H-*)H-2ÿforward 614F,4.ÿthem *@-Hÿon 10ÿto*1ÿtheir
                                                             *@-)4ÿ3customers
                                                                       +2*1H-42ÿalleged
                                                                                      ,99-C-.ÿof16ÿ5pirating.
                                                                                                        )4,*)0COÿThe
                                                                                                                  Q@-ÿ)information
                                                                                                                          0614H,*)10ÿgathered
                                                                                                                                            C,*@-4-.ÿby    ;Eÿthe
                                                                                                                                                               *@-ÿcompany
                                                                                                                                                                      31H5,0Eÿ3can    ,0ÿalso
                                                                                                                                                                                          ,921ÿbe
                                                                                                                                                                                               ;-ÿused
                                                                                                                                                                                                   +2-.ÿto*1ÿsend
                                                                                                                                                                                                             2-0.
   *,N-.1F0ÿ4requests
   takedown          -R+-2*2ÿto*1ÿwebsites
                                      F-;2)*-2ÿand ,0.ÿsearch
                                                          2-,43@ÿengines,
                                                                    -0C)0-2Aÿ.demanding
                                                                                    -H,0.)0Cÿthat   *@,*ÿthe
                                                                                                           *@-ÿsearch
                                                                                                               2-,43@ÿ-engines
                                                                                                                           0C)0-2ÿdelist
                                                                                                                                       .-9)2*ÿ5pirate
                                                                                                                                                    )4,*-ÿsites,
                                                                                                                                                           2)*-2Aÿor14ÿthat
                                                                                                                                                                       *@,*ÿthe *@-ÿsites
                                                                                                                                                                                     2)*-2ÿhosting
                                                                                                                                                                                           @12*)0Cÿthe
                                                                                                                                                                                                     *@-
   )064)0C)0Cÿ3content
   infringing         10*-0*ÿ4remove
                                   -H1I-ÿit.)*O
   S0-ÿof16ÿTIP-Echelon's
   One          UMV3@-910<2ÿ;biggest  )CC-2*ÿclients
                                               39)-0*2ÿis)2ÿHBO,
                                                             D=SAÿwhich
                                                                      F@)3@ÿ4recently
                                                                                 -3-0*9Eÿcontracted
                                                                                              310*4,3*-.ÿthe *@-ÿfirm
                                                                                                                   74Hÿto*1ÿhelp
                                                                                                                             @-95ÿtrack
                                                                                                                                      *4,3Nÿ.down         )4,*-2ÿ1of6ÿW,
                                                                                                                                                 1F0ÿ5pirates          Game  H-ÿ1of6ÿQ@  410-2ÿXÿ
                                                                                                                                                                                     Thrones      *@-ÿworld's
                                                                                                                                                                                                — the F149.<2
   H1    2*M5)4,*-.ÿshow
    most-pirated         2@1FÿXÿ     ,0.ÿsend
                                   — and   2-0.ÿthem
                                                   *@-Hÿwarning
                                                            F,40)0Cÿ9letters
                                                                          -**-42ÿasking
                                                                                    ,2N)0Cÿthem*@-Hÿto*1ÿstop
                                                                                                           2*15ÿ)illicitly
                                                                                                                  99)3)*9Eÿdownloading
                                                                                                                            .1F091,.)0Cÿ)it.*O
   =+*ÿHBO
   But     D=Sÿ)isn't
                   20<*ÿits
                          )*2ÿonly
                               109Eÿhigh-profile
                                       @)C@M54179-ÿclient39)-0*ÿXÿ   *@-ÿcompany's
                                                                   — the   31H5,0E<2ÿ3client  9)-0*ÿ9list
                                                                                                       )2*
   )039+.-2ÿsome
   includes      21H-ÿof16ÿthe *@-ÿbiggest
                                     ;)CC-2*ÿ-entertainment
                                                  0*-4*,)0H-0*ÿstudios 2*+.)12ÿ)in0ÿthe*@-ÿworld,
                                                                                             F149.A
   )039+.)0CÿUParamount
   including         ,4,H1+0*ÿUPictures,)3*+4-2Aÿ(Sony
                                                     10EÿUPictures
                                                             )3*+4-2ÿand ,0.ÿColumbia
                                                                               819+H;),ÿUPictures.)3*+4-2O Reporting organizations
   Q1ÿ)illustrate
   To     99+2*4,*-ÿthe *@-ÿ)importance
                               H514*,03-ÿof16ÿTIP-Echelon
                                                    UMV3@-910ÿto*1ÿthese *@-2-ÿbig;)Cÿ5players,
                                                                                          9,E-42Aÿ)its*2
   ,+*1H,*-.ÿsoftware
   automated         216*F,4-ÿissued)22+-.ÿsome
                                              21H-ÿY7.5OLÿH)   99)10ÿURL
                                                            million     BZ[ÿtakedown
                                                                              *,N-.1F0ÿ4requests-R+-2*2ÿto*1
   W11C9-ÿon
   Google      10ÿ;behalf
                      -@,96ÿof16ÿD=Sÿ      ,910-O
                                    HBO alone.
   Q,N-.1F0ÿ4requests
   Takedown           -R+-2*2ÿXÿ      F@)3@ÿW1
                                   — which         1C9-ÿsays
                                               Google      2,E2ÿit)*ÿcomplies
                                                                     31H59)-2ÿwith  F)*@ÿH1more  4-ÿthan
                                                                                                    *@,0ÿ\99\             Reporting Organization
   5per-4ÿ3cent
            -0*ÿof16ÿthe
                     *@-ÿtime
                            *)H-ÿXÿ —4  -2+9*ÿ)in0ÿW1
                                       result          1C9-ÿ4removing
                                                   Google       -H1I)0Cÿspecific
                                                                              25-3)73ÿURLs BZ[2ÿ6from41Hÿits
                                                                                                           )*2
   2-,43@ÿengine
   search      -0C)0-ÿwhenF@-0ÿthey *@-Eÿare
                                           ,4-ÿidentified
                                                ).-0*)7-.ÿas,2ÿ6facilitating
                                                                     ,3)9)*,*)0Cÿ5piracy
                                                                                       )4,3Eÿ1of6ÿa,
   4rights-holder's
     )C@*2M@19.-4<2ÿcontent.310*-0*O                                                                                      BPI (British Recorded Music Industry) Ltd
   SI-4,99AÿIP-Echelon
   Overall,     TUMV3@-910ÿhas      @,2ÿ4requested
                                           -R+-2*-.ÿalmost
                                                        ,9H12*ÿ10   ]^ÿH)   99)10ÿURLs
                                                                        million     BZ[2ÿbe   ;-ÿ4removed
                                                                                                   -H1I-.
   641HÿW1
   from         1C9-Aÿand
             Google,     ,0.ÿ@has,2ÿH,made .-ÿH1
                                               more4-ÿtakedown
                                                       *,N-.1F0ÿ4requests
                                                                        -R+-2*2ÿon  10ÿbehalf
                                                                                         ;-@,96ÿof16ÿHBOD=S               Deg ban
   ,0.ÿUParamount
   and       ,4,H1+0*ÿthan   *@,0ÿany,0Eÿother
                                           1*@-4ÿ5piracy-hunting
                                                     )4,3EM@+0*)0Cÿ3company; 1H5,0E_ÿit's   )*<2ÿthe
                                                                                                 *@-
   2-310.ÿH1
   second           2*M+2-.ÿcompany
               most-used         31H5,0Eÿ6for14ÿtakedown
                                                    *,N-.1F0ÿ4requests
                                                                     -R+-2*2ÿon  10ÿ;behalf
                                                                                        -@,96ÿof16ÿ(Sony
                                                                                                       10E
   UPictures
      )3*+4-2ÿand,0.ÿColumbia
                        819+H;),ÿUPictures.
                                          )3*+4-2OÿGoogle
                                                     W11C9-ÿ4ranks,0N2ÿ)it*ÿ15th
                                                                             ]L*@ÿ)in0ÿterms
                                                                                         *-4H2ÿof16                       Recording Industry Association of America, Inc_
   31H5,0)-2ÿthat
   companies         *@,*ÿissue
                             )22+-ÿtakedown
                                      *,N-.1F0ÿ4requests
                                                     -R+-2*2ÿto*1ÿit.)*O
                                                                                                                          MarkMonitor AntiPiracy
   Q@-ÿ5pejorative
   The       -`14,*)I-ÿterm*-4HÿJ"copyright
                                     315E4)C@*ÿtroll",
                                                   *4199JAÿhowever,
                                                             @1F-I-4Aÿtends*-0.2ÿto*1ÿapply
                                                                                         ,559EÿwhenF@-0ÿa,
   31H5,0Eÿ3contacts
   company          10*,3*2ÿindividual
                                 )0.)I).+,9ÿ5pirates
                                                  )4,*-2ÿby ;EÿH,
                                                                mail )9ÿ(digital
                                                                        ?.)C)*,9ÿ1or4ÿsnail
                                                                                        20,)9ÿH,     )9Gÿand
                                                                                                 mail)   ,0.
   ,2N2ÿthem
   asks     *@-Hÿto*1ÿcease
                         3-,2-ÿ5pirating
                                    )4,*)0Cÿa,ÿstudio's
                                                 2*+.)1<2ÿcontent
                                                             310*-0*ÿor, 14Aÿ)in0ÿsome
                                                                                   21H-ÿcases,
                                                                                            3,2-2Aÿ5pay ,E                Takedown Piracy LLC
   31H5-02,*)10ÿfor
   compensation            614ÿcopyright
                                315E4)C@*ÿinfringement
                                               )064)0C-H-0*ÿto*1ÿavoid  ,I1).ÿbeing
                                                                                 ;-)0Cÿsued
                                                                                          2+-.ÿ?(which
                                                                                                    F@)3@ÿ)is2
   F@,*ÿVoltage
   what      a19*,C-ÿUPictures,
                           )3*+4-2Aÿthe *@-ÿ3company
                                               1H5,0Eÿbehind;-@)0.ÿthe      79Hÿ>,
                                                                       *@-ÿfilm         99,2ÿ=+
                                                                                    Dallas         E-42
                                                                                               Buyers                     Fox Group Legal
   89   +;Aÿhas
    Club,    @,2ÿattempted
                   ,**-H5*-.ÿto*1ÿ.do1ÿ)in0ÿthe *@-ÿUS)
                                                      B(G
   [Leatherland
      -,*@-49,0.ÿ5personally
                          -4210,99Eÿsigned
                                         2)C0-.ÿoff
                                                  166ÿon10ÿ4recent
                                                              -3-0*ÿ9letters
                                                                        -**-42ÿsent
                                                                                  2-0*ÿto*1ÿalleged
                                                                                              ,99-C-.                     Remove Your Media LLC
   W,
    GameH-ÿ1of6ÿQ@    410-2ÿ5pirates,
                 Thrones          )4,*-2Aÿtelling
                                            *-99)0Cÿthem
                                                      *@-Hÿto*1ÿstop
                                                                   2*15ÿ5pirating
                                                                            )4,*)0Cÿthe*@-ÿHBOD=S
   310*-0*O
   content.                                                                                                               Unidam, Inc.
   D1F-I-4ÿhe
   However       @-ÿtold
                       *19.ÿbFairfax
                                ,)46,cÿMedia
                                          :-.),ÿthat
                                                   *@,*ÿTIP-Echelon
                                                            UMV3@-910ÿwas   F,2ÿJ"not
                                                                                    01*ÿ)interested
                                                                                           0*-4-2*-.ÿin)0
   *@-ÿ)identity
   the      .-0*)*Eÿ1of6ÿ+users"
                             2-42Jÿ)itself,
                                       *2-96Aÿand
                                              ,0.ÿdoes
                                                    .1-2ÿ0not1*ÿ5profit
                                                                    417*ÿfrom
                                                                           641Hÿ9litigation
                                                                                     )*)C,*)10ÿor14ÿ9legal
                                                                                                         -C,9             AudioLock.NET Limited
   *@4-,*2O
   threats.
                                                                                                                          DMCA Force
   JP-ÿsometimes
   "We      21H-*)H-2ÿ)       0614Hÿinternet
                             inform     )0*-40-*ÿservice
                                                    2-4I)3-ÿ5providers
                                                                 41I).-42ÿ(ISPs)
                                                                               ?T(U2Gÿthat
                                                                                         *@,*ÿtheir
                                                                                                 *@-)4
   0network
      -*F14Nÿ)is2ÿbeing
                    ;-)0Cÿused+2-.ÿ)inappropriately,'
                                        0,554154),*-9EAJÿ:4     Mrÿ  [Leatherland
                                                                       -,*@-49,0.ÿsaid,  2,).Aÿ4referring
                                                                                                   -6-44)0C
   *1ÿhis
   to   @)2ÿ3company
               1H5,0Eÿsending2-0.)0Cÿthem *@-Hÿ9letters
                                                  -**-42ÿwhich
                                                            F@)3@ÿthen*@-0ÿsometimes
                                                                              21H-*)H-2ÿget     C-*                       NBCUNIVERSAL
   614F,4.-.ÿto*1ÿ3customers.
   forwarded              +2*1H-42O                                                                                efghijklmnÿrranks
                                                                                                                   IP-Echelon    pnqÿ15th
                                                                                                                                        xujÿzinnÿuthe
                                                                                                                                                    jkÿnnumber
                                                                                                                                                         tw~krÿmofÿURLs
                                                                                                                                                                    {|}qÿitzuÿhas
                                                                                                                                                                              jpqÿhad
                                                                                                                                                                                  jpvÿrremoved
                                                                                                                                                                                        kwmkvÿfrom
                                                                                                                                                                                               rmwÿGoogle
                                                                                                                                                                                                    mmlkÿfor
                                                                                                                                                                                                            mr
   :4ÿ[Leatherland
   Mr       -,*@-49,0.ÿdescribed
                             .-234);-.ÿhis  @)2ÿservice
                                                 2-4I)3-ÿas,2ÿthe
                                                                *@-ÿ"Nielsen
                                                                      Jd)-92-0ÿof16ÿ5piracy".
                                                                                          )4,3EJO                  icopyright
                                                                                                                     mrzjuÿviolations.
                                                                                                                                zmlpuzmnq
   Jd)-92-0ÿH-
   "Nielsen            ,2+4-2ÿ9legal
                 measures          -C,9ÿviewing
                                          I)-F)0Cÿand ,0.ÿweF-ÿH-     ,2+4-ÿillegal
                                                                 measure       )99-C,9ÿviewing."
                                                                                         I)-F)0COJ
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https://www.smh.com.au/technology/meet-australian-company-ipechelon-one-of-the-biggest-antipiracy-operations-in-the-world-20150429-1mw93k.html
012314526
9/13/2018                           7889ÿAustralian
                     Case 2:18-mc-00125
                                    Meet Document
                                            9ÿcompany
                                                      ÿ1-5
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                                                                    ÿone
                                                             IP-Echelon, 809/14/18
                                                                            ÿofÿ9the
                                                                                    8ÿbiggest
                                                                                          89ÿanti-piracy
                                                                                                Page
                                                                                                 94ÿoperations
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                                                                                                                                98ÿworld
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                                                                                                                                     ID
   ()*+,-./0123ÿ567/789ÿ80ÿ:5;ÿ8<.1=3ÿ>371?ÿ783ÿ.@;5137A.ÿ=585ÿ3.83Bÿ51=ÿ783ÿ<.3.5<,-ÿC0,>3ÿ01ÿ8-.ÿ;39,-0/0?7,5/ÿ:087A587013ÿ6.-71=ÿ;7<5,9Bÿ5<.
   IP-Echelon's ability to map trends using its expansive data sets, and its research focus on the psychological motivations behind piracy, are
   -7?-/9ÿ30>?-8ÿ5C8.<ÿ69ÿ<7?-83ÿ-0/=.<3ÿ8<971?ÿ=.3;.<58./9ÿ80ÿ:787?58.ÿ<.A.1>.ÿ/033.3ÿC<0:ÿ,0;9<7?-8ÿ71C<71?.:.18D
   highly sought after by rights holders trying desperately to mitigate revenue losses from copyright infringement.
   3..:71?/9ÿtakes
   seemingly      85E.3ÿ;pride
                             <7=.ÿ7in1ÿ<ripping
                                         7;;71?ÿstuff
                                                  38>CCÿCfor0<ÿfree
                                                               C<..
   While     .58-.</51=ÿis73ÿ.eager
   F-7/.ÿGLeatherland                5?.<ÿto80ÿcredit
                                               ,<.=78ÿhis
                                                       -73ÿteam
                                                             8.5:ÿ0ofCÿ"very
                                                                       HA.<9ÿsmart
                                                                              3:5<8ÿ;people"
                                                                                         .0;/.HÿIÿ —H 3.A.<5/ÿ)PhDs
                                                                                                     "several     -J3ÿand
                                                                                                                       51=ÿother
                                                                                                                             08-.<ÿ.experts"
                                                                                                                                       @;.<83HÿIÿ   K78-ÿ=developing
                                                                                                                                                  — with     .A./0;71?ÿthe   8-.ÿcompany's
                                                                                                                                                                                 ,0:;51923
   ;proprietary
     <0;<7.85<9ÿtechnology,
                    8.,-10/0?9Bÿits    7823ÿclear
                                            ,/.5<ÿ(IP-Echelon
                                                    )*+,-./01ÿis73ÿhis
                                                                     -73ÿbaby.
                                                                          6569D
   L1ÿexpert
   An   .@;.<8ÿ7in1ÿthe
                     8-.ÿfield,
                           M./=Bÿwho K-0ÿwished
                                           K73-.=ÿto80ÿ<remain
                                                         .:571ÿanonymous,
                                                                   51019:0>3Bÿtold  80/=ÿNFairfax
                                                                                            57<C5@ÿ(IP-Echelon
                                                                                                      )*+,-./01ÿwas K53ÿH"the
                                                                                                                           8-.ÿ6best
                                                                                                                                 .38ÿoutfit
                                                                                                                                       0>8M8ÿ7in1ÿthat
                                                                                                                                                   8-58ÿ[piracy
                                                                                                                                                         O;7<5,9ÿ:0      1780<71?Pÿgame".
                                                                                                                                                                     monitoring]     ?5:.HD
   Q-.7<ÿ0own
   Their          8.,-10/0?9ÿand
             K1ÿtechnology           51=ÿalgorithms
                                           5/?0<78-:3ÿwere
                                                         K.<.ÿH"far
                                                                  C5<ÿ:0
                                                                      more <.ÿsophisticated"
                                                                              30;-7387,58.=Hÿand   51=ÿ"forensically
                                                                                                        HC0<.137,5//9ÿaccurate"
                                                                                                                          5,,><58.Hÿthan
                                                                                                                                       8-51ÿothers',
                                                                                                                                               08-.<32Bÿthe
                                                                                                                                                        8-.ÿsource
                                                                                                                                                               30><,.ÿsaid.
                                                                                                                                                                         357=D
   HQ-.9ÿare
   "They    5<.ÿgood
                 ?00=ÿat58ÿ<recognising
                              .,0?17371?ÿemerging
                                               .:.<?71?ÿtrends8<.1=3ÿand
                                                                      51=ÿgood
                                                                            ?00=ÿat58ÿ<recognising
                                                                                        .,0?17371?ÿdigital
                                                                                                       =7?785/ÿ.evidence
                                                                                                                  A7=.1,.ÿ0ofCÿany
                                                                                                                                519ÿsort
                                                                                                                                      30<8ÿin71ÿthat
                                                                                                                                                8-58ÿMfield.
                                                                                                                                                        ./=D
   HQ-.3.ÿ?guys
   "These     >93ÿhave
                     -5A.ÿa5ÿvery
                               A.<9ÿ?good00=ÿ<reputation
                                                .;>858701ÿbut  6>8ÿthey
                                                                   8-.9ÿare
                                                                         5<.ÿvery
                                                                              A.<9ÿdiscreet."
                                                                                     =73,<..8DH
   R85CCÿare
   Staff   5<.ÿ:5
               made =.ÿto80ÿsign
                            37?1ÿ1non-disclosure
                                       01*=73,/03><.ÿagreements
                                                         5?<..:.183ÿ(NDA) STJLUÿupon
                                                                                   >;01ÿleaving,
                                                                                           /.5A71?Bÿand
                                                                                                      51=ÿVjust
                                                                                                            >38ÿtwo
                                                                                                                  8K0ÿ,current
                                                                                                                         ><<.18ÿ.employees
                                                                                                                                   :;/09..3ÿhave -5A.ÿtheir
                                                                                                                                                        8-.7<ÿVjobs
                                                                                                                                                                  063ÿat58ÿIP-Echelon
                                                                                                                                                                           ()*+,-./01ÿ/listed
                                                                                                                                                                                            738.=ÿ0on1
   GLinkedIn
     71E.=(1ÿIÿ    71,/>=71?ÿGLeatherland
                 — including         .58-.</51=ÿIÿ     8-0>?-ÿNFairfax
                                                     — though      57<C5@ÿunderstands
                                                                            >1=.<3851=3ÿthere8-.<.ÿare
                                                                                                     5<.ÿupwards
                                                                                                          >;K5<=3ÿof0CÿW20Xÿstaff
                                                                                                                             385CCÿat58ÿthe
                                                                                                                                        8-.ÿcompany.
                                                                                                                                              ,0:;519D
   L3ÿ7it8ÿhas
   As      -53ÿ<racked
                 5,E.=ÿup  >;ÿhigh-profile
                               -7?-*;<0M/.ÿclients
                                                 ,/7.183ÿ0overA.<ÿthe
                                                                  8-.ÿyears,
                                                                       9.5<3Bÿthe
                                                                               8-.ÿcompany
                                                                                     ,0:;519ÿhas   -53ÿ:5
                                                                                                       made=.ÿa5ÿ<retreat
                                                                                                                   .8<.58ÿof0Cÿsorts
                                                                                                                               30<83ÿthrough
                                                                                                                                      8-<0>?-ÿtoning
                                                                                                                                                  80171?ÿdown
                                                                                                                                                            =0K1ÿthe  8-.ÿ/language
                                                                                                                                                                            51?>5?.ÿon   01ÿ7its83
   K.6378.D
   website.
   (8ÿwas
   It K53ÿonce       >37/9ÿdrumming
            01,.ÿ6busily      =<>::71?ÿ>up;ÿbusiness
                                                  6>371.33ÿwith K78-ÿthe
                                                                     8-.ÿoffer
                                                                          0CC.<ÿof0Cÿa5ÿ"free
                                                                                        HC<..ÿ;piracy
                                                                                                 7<5,9ÿanalysis"
                                                                                                       515/9373Hÿand51=ÿ,clearly
                                                                                                                           /.5</9ÿadvertised
                                                                                                                                   5=A.<873.=ÿ7its83ÿ<role
                                                                                                                                                        0/.ÿin71ÿdrafting
                                                                                                                                                                 =<5C871?ÿletters
                                                                                                                                                                              /.88.<3ÿto80ÿsend
                                                                                                                                                                                           3.1=ÿto80
   5//.?.=ÿinfringers,
   alleged   71C<71?.<3Bÿas53ÿwell K.//ÿas53ÿ;packaging
                                               5,E5?71?ÿ<reports
                                                              .;0<83ÿ"to
                                                                      H80ÿbe
                                                                           6.ÿused
                                                                              >3.=ÿas53ÿevidence
                                                                                          .A7=.1,.ÿin71ÿ,court".
                                                                                                          0><8HD
   (1ÿ2013
   In  WXYZÿhowever
              -0K.A.<ÿIÿ      8-.ÿsame
                            — the    35:.ÿyear
                                             9.5<ÿGoogle's
                                                   [00?/.23ÿtransparency
                                                                8<513;5<.1,9ÿ<report
                                                                                   .;0<8ÿ/lists
                                                                                            7383ÿ(IP-Echelon's
                                                                                                   )*+,-./0123ÿfirst
                                                                                                                   M<38ÿtakedown
                                                                                                                         85E.=0K1ÿ<request
                                                                                                                                        .\>.38ÿCfor0<ÿHBO
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                                                                                                                                                                      .;/5,.=ÿany519ÿ:.    18701ÿof0C
                                                                                                                                                                                     mention
   8-.ÿword
   the   K0<=ÿH"piracy
                 ;7<5,9Hÿon  01ÿ7its83ÿwebsite
                                       K.6378.ÿwith
                                                 K78-ÿ;phrases
                                                          -<53.3ÿ/like
                                                                    7E.ÿ"unauthorised
                                                                         H>15>8-0<73.=ÿ=distribution
                                                                                               738<76>8701ÿ,channels",
                                                                                                              -511./3HBÿH"content
                                                                                                                             ,018.18ÿinfringements"
                                                                                                                                         71C<71?.:.183Hÿand    51=ÿH"copyright
                                                                                                                                                                       ,0;9<7?-8ÿ.entitlements".
                                                                                                                                                                                    1878/.:.183HD
   Archived     A.<37013ÿof0Cÿthe
   L<,-7A.=ÿversions              8-.ÿsite
                                        378.ÿalso
                                              5/30ÿshow
                                                    3-0Kÿ7it8ÿ.employed
                                                                :;/09.=ÿ;public
                                                                             >6/7,ÿ<relations
                                                                                       ./587013ÿconsultants
                                                                                                   ,013>/85183ÿand 51=ÿ/lawyers
                                                                                                                         5K9.<3ÿwho
                                                                                                                                  K-0ÿspecialise
                                                                                                                                          3;.,75/73.ÿin71ÿH"discovery
                                                                                                                                                            =73,0A.<9ÿsubpoenas"
                                                                                                                                                                            3>6;0.153Hÿand  51=
   /787?58701D
   litigation.
   `abcÿmore?
   Know     ebfghÿEmail
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                Hannah Francis is Arts Editor at The Age.




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